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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 GEORGE ANIBOWEI,                                  §
                                                   §
                                      Plaintiff,   §
                                                   §
 v.                                                §   Civil Action No. 3:16-CV-3495-D
                                                   §
 JAMES B COMEY et al.,                             §
                                                   §
                                  Defendants.      §


                                     SCHEDULING ORDER


        Pursuant to Fed. R. Civ. P. 16(b) and 26(f), the court’s Civil Justice Expense and Delay
Reduction Plan (Misc. Order No. 46), and the local civil rules now in effect, and after having
considered the parties’ joint scheduling proposal, the court enters this scheduling order. If a date
specified in this order falls on a Saturday, Sunday, legal holiday, or date on which the clerk’s office
is closed by direction of the court or is otherwise inaccessible, see Rule 6(a)(3), the deadline is the
next day that is not one of the aforementioned days.

             I. ELECTRONIC FILING OPTIONAL/“JUDGE’S COPY” REQUIREMENTS

       Pursuant to N.D. Tex. Civ. R. 5.1(e), the court grants the parties the option of filing
pleadings, motions, or other papers on paper. Filing by electronic means is permitted, not required.

        Pursuant to N.D. Tex. Civ. R. 5.1(b), when a pleading, motion, or other paper is submitted
on paper, the party must file an original and one judge’s copy with the clerk. When a pleading,
motion, or other paper is filed by electronic means, the party must submit the judge’s copy—i.e.,
a paper copy of the electronic filing—using the procedures for Judge Fitzwater specified on the
court’s website.          This information can currently be obtained by visiting
http://www.txnd.uscourts.gov/filing/ecf.html and selecting the link for “Judges’ Copy
Requirements.” (The term “judge’s copy” is defined in N.D. Tex. Civ. R. 1.1(g) (“The term
‘judge’s copy’ means a paper copy of an original pleading, motion, or other paper that is submitted
for use by the presiding judge.”).)

        A party making an electronic filing should assume that the court is unaware of the filing
until the judge’s copy has been physically received in chambers, even if the filing requests
“emergency,” “expedited,” or similar relief or provides for agreed relief concerning a fast-
approaching deadline. When such relief is sought, counsel should arrange to have the judge’s copy
promptly delivered to the clerk of court.
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                                       II. PRETRIAL SCHEDULE

       The parties must comply with each of the following deadlines unless a deadline is modified
by court order upon a showing of good cause, as required by Rule 16(b).

A.     Joinder of Parties

       A party must file a motion for leave to join other parties no later than July 17, 2017.

B.     Expert Witnesses

       A party with the burden of proof on a claim or defense must designate expert witnesses
and otherwise comply with Rule 26(a)(2) no later than January 8, 2018.

C.     Rebuttal Expert Witnesses

       A party who intends to offer expert evidence “intended solely to contradict or rebut
evidence on the same subject matter identified by another party under [Rule 26(a)(2)(B)]” must
designate expert witnesses and otherwise comply with Rule 26(a)(2) no later than February 8,
2018.

D.     Amendment of Pleadings

       A party must file a motion for leave to amend pleadings no later than July 17, 2017.

E.     Completion of Discovery, Filing of Joint Estimate of Trial Length and Status Report

        The parties must complete discovery and file a joint estimate of trial length and joint status
report concerning the progress of settlement negotiations no later than March 23, 2018.

F.     Summary Judgment Motions

       A party must file a motion for summary judgment no later than March 23, 2018.

        The deadline imposed by the local civil rules for filing a motion for summary judgment
does not apply in this case because the court by this order has established a different deadline.
Counsel should review carefully N.D. Tex. Civ. R. 56.2(b), which limits to one the number of
summary judgment motions that a party may file “[u]nless otherwise directed by the presiding
judge, or permitted by law.”




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G.      Motions Not Otherwise Covered

        A party must file a motion not otherwise covered by this order no later than March 23,
2018.

        This deadline does not apply to motions in limine or to objections filed pursuant to Rule
26(a)(3), which must be filed no later than the deadlines that will be established by the trial setting
order that the court will issue later.

                                      III. TRIAL SETTING ORDER

       The court will set the case for trial by separate order. The order will establish trial-type
deadlines. It will also contain modifications to the requirements of the local civil rules regarding
such matters as submitting the joint pretrial order, and filing witness lists, exhibit lists, and
deposition excerpt designations.

                                            IV. TRIAL LIMITS

         Section VII of the court’s Civil Justice Expense and Delay Reduction Plan permits the
presiding judge to “limit the length of trial, the number of witnesses each party may present for its
case, the number of exhibits each party may have admitted into evidence, and the amount of time
each party may have to examine witnesses.” Rule 16(c)(2)(O) permits the court to take appropriate
action to “establis[h] a reasonable limit on the time allowed to present evidence[.]” Before the
trial of this case begins, the court will impose time limits on the presentation of evidence, and may
set other limits permitted by the Plan. In conducting discovery and other pretrial proceedings in
this case, counsel should account for the fact that such limitations will be imposed.

                          V. RULE 26(a) DISCLOSURES AND DISCOVERY
                                 MATERIALS NOT TO BE FILED

        Counsel are reminded that, pursuant to Rule 5(d)(1), disclosures under Rule 26(a)(1) or
(2), and the following discovery requests and responses—depositions, interrogatories, requests for
documents or tangible things or to permit entry onto land, and requests for admission—must not
be filed until they are used in the proceeding or the court orders filing.

                                      VI. AVAILABLE HELP DESK

        Case information can be obtained from the clerk of court by contacting the ECF Help Desk
at (214)753-2633.

        An attorney, attorney’s staff member, or party proceeding pro se can also obtain answers
to frequently asked questions, or submit case-specific questions to chambers staff, using Judge


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Fitzwater’s Chambers Online Help Desk, found at the following Internet address:
http://cf.txnd.uscourts.gov/www2/forms/saf_email.cfm.

      SO ORDERED.

      April 24, 2017.



                                    _________________________________
                                    SIDNEY A. FITZWATER
                                    UNITED STATES DISTRICT JUDGE




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